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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


   UNITED STATES OF AMERICA,                    Case No. 1:21-cr-00495-ABJ

            v.                                 DEFENDANT GRAY’S REPLY
                                               REGARDING RETURN OF
   DANIEL GRAY,                                PROPERTY
  Defendant.



      Daniel Gray (“Gray”), by and through undersigned counsel, hereby replies

to the government’s response (ECF #48) to his motion (ECF #46) for return of his

property.

      Gray seeks return of both his cell phone and his Springfield handgun. The

United States has agreed to return a download of Gray’s cell phone data, and

Gray’s defense team has sent a flash drive for recovery of this download.

      However, the United States still maintains wrongful possession of Gray’s

firearm. The firearm has no relation to this case and was unlawfully taken by the

FBI from Gray’s vehicle at the time of Gray’s arrest.

      Gray has no firearm disabilities other than the mere fact of being charged in

this case. Gray is presumed innocent. Gray is willing to stipulate to have the

firearm delivered to the possession of his father.
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      The United States has no right or authority under the law to retain possession

of Gray’s firearm. Yet the United States with a concocted strawman argument,

suggesting that Gray’s motion for the return of property should be construed as a

motion “for a change of release conditions masked as a Rule 41(g) motion.”

      Gray is not moving for change of release conditions. The United States has

no right to retain possession of Gray’s firearm.




        Dated: October 15, 2022                Respectfully Submitted,
                                              /s/ John M. Pierce
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CERTIFICATE OF ELECTRONIC SERVICE
I hereby certify and attest that on October 20, 2022, I caused this document to
be uploaded and filed in this case, using the electronic filing system established
by the Court. By doing so, I automatically served the document to counsel for
the United States.


                                      /s/ John M. Pierce
                                       John M. Pierce
